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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                       Case No. 3:19-md-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                            Judge M. Casey Rodgers
This Document Relates to:                   Magistrate Judge Gary R. Jones

________________________
TINA WEBB                                   MASTER SHORT FORM
                                            COMPLAINT AND
PLAINTIFF(S),                               JURY TRIAL DEMAND

v.
                                                              3:20-CV-05860
                                            Civil Action No.: ________________
3M COMPANY, 3M
OCCUPATIONAL SAFETY LLC,
AEARO HOLDING LLC, AEARO
INTERMEDIATE LLC, AEARO LLC,
and AEARO TECHNOLOGIES LLC,

DEFENDANTS.


  MASTER SHORT FORM COMPLAINT AND JURY TRIAL DEMAND

      Plaintiff(s) incorporate(s) by reference the Master Long Form Complaint and

Jury Trial Demand filed in In re: 3M Combat Arms Earplug Products Liability

Litigation on September 20, 2019. Pursuant to Pretrial Order No. ______,
                                                                 17      this Short

Form Complaint adopts the allegations, claims, and requested relief as set forth in

the Master Long Form Complaint. As necessary herein, Plaintiff(s) may include:

(a) additional claims and allegations against Defendants, as set forth in Paragraphs

10 and 11 or an additional sheet attached hereto; and/or (b) additional claims and
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allegations against other Defendants not listed in the Master Long Form Complaint,

as set forth in Paragraphs 12 and 13 or an additional sheet attached hereto.

       Plaintiff(s) further allege(s) as follows:

I.     DEFENDANTS

       1.    Plaintiff(s) name(s) the following Defendants in this action:

             ______
             X             3M Company

             ______
             X             3M Occupational Safety LLC

             ______
             X             Aearo Holding LLC

             ______
             X             Aearo Intermediate LLC

             ______
             X             Aearo LLC

             ______
             X             Aearo Technologies LLC

II.    PLAINTIFF(S)

       2.    Name of Plaintiff:

              TINA WEBB


       3.    Name of spouse of Plaintiff (if applicable to loss of consortium
             claim):




       4.    Name and capacity (i.e., executor, administrator, guardian, conservator,
             etc.) of other Plaintiff, if any:




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        5.    State(s) of residence of Plaintiff(s):

              California.



III.    JURISDICTION

        6.    Basis for jurisdiction (diversity of citizenship or other):

              Diversity.


        7.    Designated forum (United States District Court and Division) in which
              venue would be proper absent direct filing:

              United States District Court for the Southern District of California



IV.     USE OF DUAL-ENDED COMBAT ARMS EARPLUG

        8.    Plaintiff used the Dual-Ended Combat Arms Earplug:

              ______
              X               Yes

              ______          No

V.      INJURIES

        9.    Plaintiff alleges the following injuries and/or side effects as a result of
              using the Dual-Ended Combat Arms Earplug:

              ______
              X               Hearing loss

              ______          Sequelae to hearing loss

              ______
              X               Other [specify below]

              Plaintiff was diagnosed with hearing issues, specifically Tinnitus.




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VI.    CAUSES OF ACTION

       10.   Plaintiff(s) adopt(s) in this Short Form Complaint the following claims
             asserted in the Master Long Form Complaint and Jury Trial Demand,
             and the allegations with regard thereto as set forth in the Master Long
             Form Complaint and Jury Trial Demand:

             ______
             X           Count I – Design Defect – Negligence

             ______
             X           Count II – Design Defect – Strict Liability

             ______
             X           Count III – Failure to Warn – Negligence

             ______
             X           Count IV – Failure to Warn – Strict Liability

             ______
             X           Count V – Breach of Express Warranty

             ______
             X           Count VI – Breach of Implied Warranty

             ______
             X           Count VII – Negligent Misrepresentation

             ______
             X           Count VIII – Fraudulent Misrepresentation

             ______
             X           Count IX – Fraudulent Concealment

             ______
             X           Count X – Fraud and Deceit

             ______
             X           Count XI – Gross Negligence

             ______
             X           Count XII – Negligence Per Se

             ______
             X           Count XIII – Consumer Fraud and/or Unfair Trade Practices

             ______      Count XIV – Loss of Consortium

             ______      Count XV – Unjust Enrichment

             ______
             X           Count XVI – Punitive Damages




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       ______       Count XVII – Other [specify below]




 11.   If additional claims against the Defendants identified in the Master
       Long Form Complaint and Jury Trial Demand are alleged in Paragraph
       10, the facts supporting these allegations must be pleaded. Plaintiff(s)
       assert(s) the following factual allegations against the Defendants
       identified in the Master Long Form Complaint and Jury Trial Demand:




 12.   Plaintiff(s) contend(s) that additional parties may be liable or
       responsible for Plaintiff(s)’ damages alleged herein. Such additional
       parties, who will be hereafter referred to as Defendants, are as follows
       (must name each Defendant and its citizenship):




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      13.    Plaintiff(s) assert(s) the following additional claims and factual
             allegations against other Defendants named in Paragraph 12:




      WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against

Defendants and all such further relief that this Court deems equitable and just as set

forth in the Master Long Form Complaint and Jury Demand and any additional relief

to which Plaintiff(s) may be entitled.



Dated: ______________
       September 28, 2020
                                             Frantz Law Group, APLC
                                             /s/ William B. Shinoff, Esq.
                                             William B. Shinoff, Esq.




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